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AO 91 (Rev. 02/09) Criminal Complaint

United States District Court-_
Western Disteiet of New York S S . NO

United States of America Oh
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Vv. Case No. 23-mj- so iF
HOWARD HINKLE, JR., and
DILLON ANDERSON

Defendants

CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and
belief.

COUNT 1
(Felon In Possession of a Firearm)
On or about the date of October 24, 2023, in the County of Erie, in the Western District of

New York, the defendant, HOWARD HINKLE, JR., knowing that he had previously been convicted
on or about September 10, 2007, in County Court, Alleghany County, New York, of a crime
punishable by imprisonment for a term exceeding one year, did knowingly possess, in and affecting
commerce, a firearms, all in violation of Title 18, United States Code, Section 922(g)(1).

COUNT 2
(Maintaining a Drug Involved Premise)

On or about October 24, 2023, in the Western District of New York, the defendants,
HOWARD HINKLE JR., and DILLON ANDERSON, did knowingly, intentionally, and
unlawfully maintain a drug involved premises, namely 4290 Donovan Road, Almay, NY 14895, all
in violation of Title 21, United States Code, Section 856, and Title 18, United States Code, Section
2.

COUNT 3
(Possession of Marijuana with Intent to Distribute and 100 or More Marijuana Plants)
On or about October 24, 2023, in the Western District of New York, the defendants,
HOWARD HINKLE JR., and DILLON ANDERSON, did knowingly, intentionally, and
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unlawfully possess with intent to distribute, marijuana and 100 or more marijuana plants. All in
violation of Title 21, United States Code, Sections 841(a)(1) and (b)(1)(B)(vii), and Title 18, United
States Code, Section 2.

COUNT 4
(Possessing a Firearm in Furtherance of Drug Trafficking Crimes)

On or about October 24, 2023, in the Western District of New York, the defendants,
HOWARD HINKLE JR., and DILLON ANDERSON, during and in relation to drug trafficking
crimes for which they may be prosecuted in a court of the United States, that is, a violations of Title
21, United States Code, Section 841(a)(1) and 856(a)(1), committed in the manner set forth in Count
3 of this Criminal Complaint, the allegations of which are incorporated herein by reference, did
knowingly and unlawfully possess a firearm.

All in violation of Title 18, United States Code, Section 924(c)(1)(A) and 2.

This Criminal Complaint is based on these facts:

& Continued on the attached sheet.

Adam Prana

Complainant's signature

ADAM PENNA
SPECIAL AGENT
FEDERAL BUREAU OF INVESTIGATIONS

Printed name and title

Sworn to telephonically.

Date: October 24, 2023 nyt | (2

[ Judge’ ignature
HONORABLE MICHAEL J. ROEMER
City and State: Buffalo, New York UNITED STATES MAGISTRATE JUDGE

Printed name and title

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AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

STATE OF NEW YORK)
COUNTY OF ERIE ) SS:
CITY OF BUFFALO )

I, ADAM PENNA, being duly sworn, depose and state:

AGENT BACKGROUND AND INTRODUCTION

1. Iama Special Agent with the Federal Bureau of Investigation (“FBI”) and have
been so employed since 2015. I am currently assigned to the Buffalo Field Office and to the
White Collar Crime Squad within that office. My duties include the investigation of public
corruption offenses. Previously, I was assigned for approximately 3 years to work border
corruption cases with the FBI while stationed in Yuma, Arizona, which is located along the
United States border with Mexico. Additionally, I spent approximately 3 years working
public corruption cases with the FBI while stationed in Newark, New Jersey. As such, lam
an investigator or law enforcement officer of the United States, within the meaning of Title
18, United States Code, Section 2510(7), and I am empowered by law to conduct
investigations of, and to make arrests for, the offenses enumerated in Title 18, United States
Code, Section 2516. Prior to becoming a Special Agent, I was employed as a civil litigation

attorney for approximately 2 years in Buffalo, New York.

2. I have participated in several investigations regarding witness tampering and
retaliation, organized crime, firearm offenses, and drug trafficking. During said

investigations, I have conducted physical and wire surveillance, executed search warrants,
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and reviewed and analyzed recorded conversations and records of retaliators, criminal
conspirators, members of organized crime, unlawful possessors of firearms, and drug
traffickers. Through my training, education, and experience (including debriefing
cooperating witnesses, monitoring wiretapped conversations, and conducting surveillance on
numerous occasions of individuals engaged in criminal activities), I have become familiar
with, the manner in which witnesses are subject to retaliation, conspiracies take form, illegal
drugs are purchased, imported, and distributed, and the efforts of persons involved in such
activities to avoid detection by law enforcement. My investigative experience detailed herein,
as well as the experience of other law enforcement agents who are participating in this
investigation, and information provided to me by cooperating sources, serve as the basis for

the opinions and conclusions set forth herein.

3. I have personally participated in the investigation set forth below. I am familiar
with the facts and circumstances of the investigation through my personal participation,
discussions with other agents of the FBI, HSI, and other law enforcement officials, interviews
of witnesses, and my review of relevant records and reports. Unless otherwise noted,
wherever in this affidavit I assert that a statement was made, the information was provided
by an FBI agent, law enforcement officer, or witness who had either direct or hearsay
knowledge of that statement, to whom I or others have spoken or whose reports I have read
and reviewed. Such statements are among statements made by others and are stated in
substance and in part unless otherwise indicated. Any interpretations or opinions rendered
in this affidavit are based on my training and experience, and upon my consultation with

other experienced investigators, in the context of the facts of this investigation.
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A. I have set forth only the facts that I believe are necessary to establish probable
cause that:
a. HOWARD HINKLE, JR. (“HINKLE”) has committed violations of Title 18,

United States Code, 922(¢)(1) (felon in possession); and

b. HINKLE and DILLON ANDERSON (“ANDERSON”) have committed
violations of: Title 21, United States Code, Section 856 (maintaining a drug-
involved premises); Title 21 United States Code, Sections 841(a)(1) and
(b)(1)(B)(vii) (possession with intent to distribute maryuana); Title 18, United
States Code, Section 924(c) (possession of a firearm in furtherance of a drug
trafficking crime); and Title 18, United States Code, Section 2 (aiding and
abetting)

(hereinafter, the “Enumerated Offenses”).
5. This affidavit is provided for the limited purpose of establishing probable cause
to support the attached complaint and therefore does not contain each and every detail of the

investigation.

PROBABLE CAUSE

6. On October 22, 2023, the FBI obtained a federal search warrant (the
“Warrant”) authorizing the search of HINKLE and ANDERSON’S residence at 4290

Donovan Road, Almay, NY 14895 (the “4290 Donovan Road”).
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7. In executing the Warrant on October 24, 2023, FBI agents discovered in plain
view multiple firearms, marijuana plants, and other evidence consistent with a large-scale

marijuana-grow operation.

8. Photos of the firearms observed in plain view are as follows:

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9. Among these firearms are a suspected Savage Model 64, a semi-automatic .22
LR rifle made by Savage Arms and, not pictured, a Ruger 22. On October 24, 2023, Special
Agent William Farnham, a certified Firearms Interstate Nexus Expert with the Bureau of
Alcohol, Tobacco, Firearms, and Explosives (ATF), was consulted and provided an interstate
nexus determination of the above-mentioned firearms, found at HINKLE’S residence. SA
Farnham determined, based upon his personal knowledge, experience, and research, that the
above-mentioned firearms were manufactured outside of the State of New York and would
have traveled in and affected interstate commerce prior to their recovery in the State of New
York. Additional firearms—19 in total—located at HINKLE and ANDERSON’S residence

will be analyzed at a later date.

10. In addition, multiple boxes of ammunition could be seen in plain view.

11. During an interview with law enforcement, HINKLE’S wife, ANDERSON
claimed that all the firearms and ammunition belonged to her. But when agents asked
ANDERSON whether HINKLE’S fingerprints and DNA would be found on the firearms,
ANDERSON paused for an extended period. Ultimately, ANDERSON responded by

questioning why HINKLE’S DNA and fingerprints would matter to law enforcement.

12. Moreover, the circumstances belie the claim that all firearms and ammunition
belong to her and indicate that the firearms and controlled substances are in the custody,
possession, and control of both HINKLE and ANDERSON. For instance, on December 9,

2021, ANDERSON called 911 to report a domestic disturbance at 4290 Donovan Road.
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According to a report of the 911 call, HINKLE had left 4290 Donovan Road and “d[id] have
a 22 with him and a shot gun or a rifle” and threatened “to shoot caller’. —ANDERSON—
“and himself.” ANDERSON reported that HINKLE “grabbed the 22 run [sic] when he left.”
During the execution of the Warrant, FBI agents observed in plain view a .22 rifle, among

other firearms.

13. HINKLE, notably, is a convicted felon and, therefore, cannot lawfully possess
firearms. Specifically, on September 10, 2007, HINKLE was convicted of Attempted Assault

in the 2" Degree in Allegany County Court, in violation of NY PL 120.05, a Class E felony.
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14. Other evidence also connects HINKLE to the firearms. For example, while

executing the Warrant, FBI agents observed in plain view multiple maryuana plants—over

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15. Indeed, in plain view, agents observed two firearms next to a storage bin
containing multiple jars of marijuana and a digital scale. Both the firearms and the storage
bin of marijuana were found by a window overlooking marijuana plants. It appeared that
most of the 19 firearms discovered in plain view were strategically located in proximity to the

residence’s points of entry. Moreover, it appears that some of the firearms were loaded.

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Marijuana plant

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Storage bin containing jars of Digital scale

marijuana

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16. Later, when clearing the basement of 4290 Donovan Road, FBI agents

observed—also in plain view—ammunition, marijuana, grow lights, other equipment used to

sustain a large-scale grow operation in the basement of the residence. Those materials are

pictured as follows:

Ammunition

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17. ANDERSON, during an interview with law enforcement, stated that the
marijuana plants belonged to HINKLE. Notably, all of the marijuana and firearms inside the
residence were accessible to both ANDERSON and HINKLE. Based upon my training and
experience, firearms are among the common tools of the drug trafficking trade. Moreover,
based on this training and the close proximity between firearms and ammunition, on the one
hand, and the marijuana and marijuana-grow operation material, on the other, it is reasonable
to conclude HINKLE unlawfully possessed the firearms in violation of Title 18, United States
Code, Section 922(g)(1), and HINKLE and ANDERSON unlawfully possessed the firearms

in violation of Title 18, United States Code, Section 924(c)(1)(A)Q).

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18. In particular, there is considerable evidence connecting both HINKLE and
ANDERSON to the marijuana grow operation. HINKLE and ANDERSON used a white
RV parked in the driveway of 4290 Donovan Road to dry the marijuana they grew throughout
their property. Photos of that RV—and the stalks of marijuana it was used to dry—are listed

below:

19. To ensure law enforcement safety, and pursuant to the October 22" Warrant,
the FBI SWAT team cleared the RV. Prior to entering it, agents could smell an overwhelming
and unmistakable scent of marijuana emitting from the RV. Agents opened the door of the
RV and saw in plain view several stalks of drying marijuana, lamps, and drying racks, pictured

as follows.

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20. Based on ANDERSON’S satement that the maryuana belonged to HINKLE,
the 100-plus marijuana plants found on the premises of 4290 Donovan Road, the storage bin
containing marijuana found adjacent to two firearms within the residence, the numerous
firearms found in plain view, the evidence of drug distribution and manufacturing found
throughout the residence, there is probable cause to believe that HINKLE committed
violations of Title 18, United States Code, 922(g)(1) (felon in possession); Title 21, United
States Code, Section 856 (maintaining a drug-involved premises); Title 21 United States
Code, Sections 841(a)(1) and (b)(1)(B)(vii) (possession with intent to distribute marijuana);
Title 18, United States Code, Section 924(c) (possession of a firearm in furtherance of a drug
trafficking crime); and Title 18, United States Code, Section 2 (aiding and abetting); and that
ANDERSON committed violations of Title 21, United States Code, Section 856 (maintaining
a drug-involved premises); Title 21 United States Code, Sections 841(a)(1) and (b)(1)(B)(vii)
(possession with intent to distribute marijuana); Title 18, United States Code, Section 924(c)
(possession of a firearm in furtherance of a drug trafficking crime); and Title 18, United States

Code, Section 2 (aiding and abetting)

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CONCLUSION

WHEREFORE, based upon the foregoing, I respectfully submit that there is
probable cause to believe that HOWARD HINKLE, JR. and DILLON ANDERSON have
committed violations of the Enumerated Offense.

Adam Fenna

ADAM J. PENNA
Special Agent
Federal Bureau of Investigation

Sworn to and subscribed telephonically
this 24th day of October, 2023.

HONORABLE MI@HAEL J. ROEMER
United States Magistrate Judge

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